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Safari Club International

                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO


WILDEARTH GUARDIANS, et al.,

           Plaintiffs,                         Case No. 1:19-cv-00203-CWD

v.

U.S. FOREST SERVICE, et al.,                   SAFARI CLUB
                                               INTERNATIONAL’S MOTION
           Defendants,                         TO INTERVENE

and

SAFARI CLUB INTERNATIONAL,

           Defendant-Intervenor
           Applicant.
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       Safari Club International (“Safari Club”), by and through counsel, moves this

Court for leave to participate in this case as a defendant-intervenor as of right. Should

this Court determine that it cannot grant Safari Club intervention as of right, Safari Club

seeks permissive intervenor status. Finally, if this Court finds that Safari Club may not

participate as an intervenor, Safari Club seeks to participate as an amicus in all phases of

this litigation.

       Safari Club is an international organization that represents sportsmen and

sportswomen, some of whom hunt black bears using bait on National Forest lands in

Idaho and Wyoming. Safari Club seeks to intervene to protect its own interests and the

interests of its members in hunting black bears using bait and in the sustainable use

conservation of black bears and other wildlife in Idaho and Wyoming.

       Although the District of Idaho does not formally require conferral, counsel for

Safari Club contacted the parties to the case to determine their positions on this motion.

Counsel for Plaintiffs informed Safari Club that Plaintiffs take no position on the motion

until they can read it. Counsel for Federal Defendants informed Safari Club that Federal

Defendants take no position on the motion.

       Together with this motion, Safari Club files a Memorandum in Support; a

[Proposed] Answer to Plaintiffs’ Amended and Supplemental Complaint; and

Declarations of Rew Goodenow, John Malison, Albert Veilleux, and Travis Bullock.




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DATED this 10th day of February 2021.

                                     Respectfully Submitted,


                                     /s/ Jeremy Clare
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                              CERTIFICATE OF SERVICE

       I hereby certify that on the 10th day of February 2021, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF system, which will send a notice

of electronic filing to all counsel of record.



                                                     /s/ Jeremy Clare
                                                     Jeremy E. Clare




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